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James Garreston (00:00):
Hello?

Michelle (00:02):
Hi, this is Michelle from the Heard Museum returning your call.

James Garreston (00:06):
Hey, Michelle. I was the one talking to you about the lemur by text message.

Michelle (00:11):
Yeah. Yeah.

James Garreston (00:13):
Oh, okay. Okay, good. I lost my dang phone, and I couldn't remember your name.

Michelle (00:20):
That's okay. I understand.

James Garreston (00:22):
Are you guys still looking for another one or what?

Michelle (00:25):
Well, we had a very sad turn of events. Our old guy with cancer died, and his companion died of sorrow.

James Garreston (00:36):
Really?

Michelle (00:37):
So that... Yep. Which leads me to another reason to call you. If your lemur is that attached to your
family, like you seemed to indicate she was, I don't know that you can safely place her with just
anybody. They-

James Garreston (00:55):
The one thing about Miley is, our lemur, is she's at my store a lot. We take her to the store. She's got a
little bitey. She is a little bitey, but she's went from person to person. She's decent. She's pretty happy
where ever she's at.

Michelle (01:14):
But her home base is with you guys, right?

James Garreston (01:19):
Yeah. Yeah, pretty much.



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Michelle (01:20):
I'm going to tell you. I've seen animals mourn the loss of a partner or a companion animal. But I've never
seen anything like what I witnessed with these lemurs, ever.

James Garreston (01:34):
Really?

Michelle (01:34):
In any animal species, never. I talked to the Ringtail-Lemur Species Survival Coordinator for the entire
country, and she's over at Disney in Florida. Everything that we could have done other than getting
another lemur here, we did, and we still lost him.

James Garreston (02:00):
Really?

Michelle (02:01):
She said it's actually not uncommon. There's a refuge in Texas that takes in lemurs. They turn them
loose. They turn them loose into their own compound. So, they're not getting daily attention, she said,
but these are like the murderous lemurs. They will bite your face off. That's what happens to them when
they're abandoned by whatever their security place is, whether it's a family or a facility, just wherever
they've been unwanted from.

Michelle (02:34):
There's this refuge for animals that cannot live anywhere else. They get some food, but they don't get
regular checkups. They're left to live as much of a wild life is possible.

James Garreston (02:46):
Really?

Michelle (02:46):
But it's certainly not what a pet lemur would be accustomed to. The territoriality between these lemurs,
if you get a group that just maybe forms some bonds and they form their own little tightknit group of
lemurs and you put a new one in there, they could kill her.

Michelle (03:04):
So, this has been a real learning experience for me, and I don't know that... I have not decided if I will
ever have lemurs again because what we saw happen here with our younger male lemur was absolutely
awful. It was one of the worst things I've ever seen. I've seen old people who mourn to death when their
spouse dies, and they just die away. This was terrible. This was-

James Garreston (03:38):
That's crazy.

Michelle (03:39):


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-lots of people doing anything possible and it ended up in horrible trauma and heartbreak. So, I don't-

James Garreston (03:47):
That is crazy.

Michelle (03:49):
Well, but that just goes to show you that there's a whole lot that we humans don't understand about
the animal world. That the animals form such tight bonds with each other is something I think we all
need to take into consideration and take a bit more seriously than we have been because that there's a
whole refuge for unwanted face-chewing lemurs is really sad. That's really, really a sad circumstance.
[crosstalk 00:04:17]

James Garreston (04:17):
Yeah. Have you ever been mauled by a lemur?

Michelle (04:21):
I have been attacked by lemur. Yes.

James Garreston (04:23):
Yeah. It's like the worst. See, what happened-

Michelle (04:26):
It is the worst.

James Garreston (04:27):
-with our lemur... So me and my wife, we divorced or we're getting... We're divorced. She moved back
to Texas and Miley's getting real bitey now because I guess she misses the wife. So it's kind of the same
situation. I was trying to find another lemur for her to put them together. So I introduced her to another
male. She wanted to kill him. She's like-

Michelle (04:53):
Yeah.

James Garreston (04:58):
Yeah. She's real good with that dog. But she loves the dog, our little Schnauzer. She rides on the back of
her and everything, I mean, just loves the dog. Yeah. So she's going through somewhat of that, what you
talked about. She's still a little perky and happy and bouncing around, but I don't know. It's kind of
strange.

Michelle (05:21):
I don't know what to tell you to do with her. I don't know if you can keep her. I just don't know. I know
that I can't take her here under these circumstances-

James Garreston (05:31):


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Gotcha.

Michelle (05:31):
-because we can't satisfy her needs here.

James Garreston (05:36):
Yeah, I gotcha.

Michelle (05:38):
If she's already showing some aggression and some stress and biting and things like that, I mean, I have
to protect the people that work for me and she won't be happy here. She's bonded to you guys and
[crosstalk 00:05:54]

James Garreston (05:53):
Yeah. Well, I'll hang on to her. She's good. I mean, she's perfectly fine where she's at. I just wanted to
see if she would ever go with another lemur, you know?

Michelle (06:04):
Yeah. Yeah.

James Garreston (06:04):
So that's tough.

Michelle (06:05):
No, I understand. In my perfect world, I could help all the animals, but after learning what I did and from
time to time I read over my documentation about the whole situation, because I'm still asking myself,
"What could I have done better? What could I have done differently?" I don't find an answer, but it was
[crosstalk 00:06:25]

James Garreston (06:25):
So how did the male act? Was he just real lethargic and kind of...

Michelle (06:31):
He first didn't want to eat, even the most desirable foods. Didn't want to eat, didn't want to drink. So we
were trying to hand feed him. Then, he sat. He just sat, which was not him. So we put in a big flat screen
TV and one of our members created a YouTube channel for him so he could watch other lemurs and for
about 24 hours, he perked up and he ate some. But then he figured out that he couldn't touch those
other lemurs. So, we were searching everywhere for some more lemurs.

James Garreston (07:12):
Yeah, that's sad.

Michelle (07:15):



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We found lemurs, but people didn't want to give them up or it wouldn't have been suitable anyways.
Then he laid down and he'd look at us, but he started having bloody diarrhea and vomiting. The vet was
seeing him constantly and medicating him. But in the end there was absolutely nothing we could do.
There was nothing we could do.

James Garreston (07:44):
That's so sad.

Michelle (07:46):
Nothing. It's very sad. My staff was traumatized because we worked our tails off. There were people
here in the middle of the night trying to save that animal. We were texting with the vet in the middle of
the night. There was nothing we could do. So, I don't know what to tell you.

James Garreston (08:07):
Oh, I'll hang on to her. I was just always looking at her and I'm like, "Oh, you need a companion." Maybe
I'll just put a lemur next to her for a little while and see how she does. But I mean, she's still pretty
happy, but she's a little bitey. But I mean, I just, when I carry her, I just put a glove on when I've got to
grab hold of her or something. But she's still [crosstalk 00:08:35]

Michelle (08:34):
Watch your face.

James Garreston (08:36):
Oh, yeah, no. I've been attacked by a black and white lemur before. They're a lot bigger and got bit on
the shoulder. But, yeah, the lemurs, they'll tear up almost worse than a tiger. I'd rather get bit by a little
tiger cub than a lemur any day.

Michelle (08:54):
Yeah. They're fast. They come in wicked fast from behind.

James Garreston (08:59):
What other kind of animals do you guys have down there?

Michelle (09:02):
We have white nosed coatamundis, northern raccoon, gray fox, whitetail deer, northern bobcats.

James Garreston (09:10):
Gotcha.

Michelle (09:13):
Patagonian cavy, tons of reptiles, blue and gold Macaw, screech owls. We have a variety of things and,
you know, for the right animal, I do have space.

James Garreston (09:24):


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Yeah.

Michelle (09:24):
Like, I-

James Garreston (09:26):
What other stuff are you looking for? Because I get calls all the time, dude.

Michelle (09:31):
How is it that you get calls? What don't I know about you?

James Garreston (09:34):
Well-

Michelle (09:34):
Do you have a wildlife park?

James Garreston (09:37):
Yeah. I've been around 20, 25 years. We've had all kinds of exotic animals. We're not really open to the
public or anything, but we have big cats. So we get calls all the time for different people trying to place
different kinds of animals.

Michelle (09:55):
That's right. You were looking to place some cats when I talked to you last.

James Garreston (09:59):
Yeah, yeah.

Michelle (10:00):
Did you find placement?

James Garreston (10:02):
I did. I placed some of the ones that I had taken in because we had a... I don't know, I was working for
the government. I was a confidential informant for a wildlife trafficking ring. I don't know if you know
about this guy named Joe Exotic or whatever, or ever heard of them, but they were doing a lot of illegal
trafficking. So, I had to take a bunch of animals for the case. I actually did get them placed and a real
nice place.

Michelle (10:30):
Good.

James Garreston (10:30):




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I mean, I get calls. I get calls all the time for different stuff. We have camels and water buffalo and stuff
like that.

Michelle (10:40):
Oh, really?

James Garreston (10:41):
Yeah. Yeah.

Michelle (10:43):
Well, no, I can't use anything like that. I have not got a facility for that. But small mammals, if you come
across them and because we're a natural science museum, we do prefer to have some mostly native. So
if [crosstalk 00:10:58]

James Garreston (10:58):
Okay.

Michelle (10:58):
... comes across your table, like a red topped fox or a ringtail cat, they call them, or porcupines, things
like that. Give me a call.

James Garreston (11:07):
Actually, a few weeks ago, I got a call for a pair of porcupines and they were free, actually.

Michelle (11:16):
Were they African or North American?

James Garreston (11:18):
They were African crested.

Michelle (11:21):
Oh, my God. We've had those. Oh, we loved them. We had-

James Garreston (11:24):
Did they-

Michelle (11:24):
-them on loan.

James Garreston (11:24):
Oh, really?

Michelle (11:25):


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We loved them.

James Garreston (11:27):
[crosstalk 00:11:27]

Michelle (11:27):
They were wonderful.

James Garreston (11:29):
Well, let me see if he still has them available. I'll shoot him a text here in a little bit and see. But I get
calls all the time, people selling stuff.

Michelle (11:37):
Well-

James Garreston (11:37):
I'm just not much of a primate person myself, and-

Michelle (11:42):
Yeah. I don't know that I ever will be again. Honestly, I just couldn't. I'm still not over it. I still think about
it and cry because it was just, it was probably... And I'm a cancer patient, okay? I've never felt more
helpless in my life than I did with those lemurs. I've never felt so helpless. I don't know if... I'm just not
there. But I do know that I learned a lot about lemur behavior and in talking to the experts worldwide, I
networked with people all over and they're tough, especially the ringtails. They're very tough. They're
very emotional animals and they get very aggressive as they age, if they're not socialized. So if they've
got, like I said, if she's got bonds with you and your family, I would leave her be because otherwise if you
place her, I would really be scared of what the outcome would be for her unless she's with-

James Garreston (12:37):
Yeah. She's real-

Michelle (12:38):
-unless you protect her.

James Garreston (12:39):
-tied to the dog too. Yeah. She's real-

Michelle (12:41):
That could do it.

James Garreston (12:42):
-connected to the dog too. Like, I let them run. I have a 9,000 square foot retail store. Then when we're
not open, I'll let her run the whole building. So she's got a huge area to go and I'll let her run with the
dog. I think that she's bonded with the dog more than anything.

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Michelle (12:59):
That could very well be. We actually did consider getting a dog for our little guy. But like I said, in the
end, some people that have some lemurs up north of here brought two of their lemurs down to visit
with them and he didn't even respond.

James Garreston (13:14):
Oh.

Michelle (13:15):
He was gone. [crosstalk 00:13:17]

James Garreston (13:17):
That's so sad.

Michelle (13:18):
It is. It was horrible. It was horrible.

James Garreston (13:22):
Well, Michelle, I'll keep your number and if I hear anything I'll definitely give you holler if-

Michelle (13:27):
That'd be great.

James Garreston (13:27):
-anything sounds good.

Michelle (13:28):
That'd be great.

James Garreston (13:29):
[crosstalk 00:13:29] all right.

Michelle (13:29):
Okay.

James Garreston (13:30):
Talk to you later. Bye.

Michelle (13:30):
Good luck. Uh-huh (affirmative). Bye-bye.




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